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s|¥ | FOR THE DISTRICT OF MARYLAND ¢; cps OFFICE
fa BALTIMORE
UNITED STATES OF AMERICA eel
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CRIMINAL NO. HO -17-OA Da

(Possession With Intent to Distribute
Controlled Substances, 21 U.S.C. §
841(a)(1); Possession of Firearm in
Furtherance of a Drug Trafficking
Crime, 18 U.S.C. § 924(c); Felon im
Possession, 18 U.S.C. 922(g) (1); Aiding
and Abetting, 18 U.S.C. § 2; Forfeiture,
21 U.S.C. § 853, 18 U.S.C. § 924(d), 28
USS.C, § 2461(c))

 

vy.
MICHAEL McKENZIE TALLEY,

a/k/a/ “Money Mike”;

Defendant

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INDICTMENT
COUNT ONE
The Grand Jury for the District of Maryland charges:
On or about May 10, 2017, in the District of Maryland, the defendant,

MICHAEL McKENZIE TALLEY,
a/k/a/ “Money Mike”;

did knowingly, intentionally and unlawfully possess with intent to distribute a quantity of a
mixture or substance containing a detectable amount of heroin, a Schedule I controlled
substance, and a quantity of a mixture or substance containing a detectable amount of cocaine, a
Schedule II controlled substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2
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COUNT TWO
The Grand Jury for the District of Maryland further charges that:
On or about May 10, 2017, in the District of Maryland, the defendant,

MICHAEL McKENZIE TALLEY,
a/k/a/ “Money Mike”

did knowingly and intentionally and unlawfully possess the following firearm, to wit: a loaded
Taurus Millenium 9mm, semi-automatic, in furtherance of a drug trafficking crime for which he
may be prosecuted in a court of the United States, as set forth in Count One of this Indictment,

which are incorporated herein by reference.

18 U.S.C. § 924(c)
18 U.S.C. §2
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COUNT THREE
The Grand Jury for the District of Maryland further charges that:
On or about, May 10, 2017, in the State and District of Maryland,

MICHAEL McKENZIE TALLEY,
a/k/a/ “Money Mike”

the defendant herein, having been convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly and unlawfully possess a loaded Taurus Millenium 9mm,

semi-automatic in and affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. §2
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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:

l. Pursuant to Rule 32.2, Fed. R. Crim. Proc., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with Title 21,
United States Code, Section 853, Title 18, United States Code, Section 924(d), and Title 28,
United States Code, Section 2461 (c), as a result of the defendant’s conviction under Counts One

and Two of this Indictment.

Firearms Forfeiture

2. As aresuit of the offense set forth in Counts Two and Three of this Indictment,
. the defendant,

MICHAEL McKENZIE TALLEY,
a/k/a/ “Money Mike”

shall forfeit to the United States the firearm and ammunition identified in Counts Two and Three

of the Indictment.

21 U.S.C. § 853
18 U.S.C. § 924(d)

28 U.S.C. § 2461(c) i J

Stephen M. Schenning
Acting United States emmy

 

ATRUE BILL. _.

SIGNATURE REDACTED. !

 

“Foreperson™ nn

Date: asl zs?
